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              FEDERAL ENERGY REGULATORY COMMISSION
                      WASHINGTON, DC 20426

    DECISION ISSUED AUGUST 6, 2024; PETITIONS FOR REHEARING PENDING

                           February 6, 2025



Via ECF
Clifton B. Cislak
Clerk of the Court
United States Court of Appeals
 for the District of Columbia Circuit
E. Barrett Prettyman United States Courthouse
333 Constitution Avenue, N.W.
Washington, DC 20001

Re: City of Port Isabel, et al. v. FERC, Nos. 23-1174, et al.
    Response to Petitioners’ February 3, 2025 Rule 28(j) Letters

Dear Mr. Cislak:

     In their February 3 letters, Petitioners assert that the recent
revocations of Executive Order 11,991 (which purportedly empowered
the Council on Environmental Quality to issue regulations) and
Executive Order 12,898 (which directed agencies to perform
environmental justice analyses) are “irrelevant.” The Commission
disagrees. At the very least, revocation of these Executive Orders
underscores that vacatur of the Commission’s authorization of the Rio
Grande and Texas LNG Projects was unwarranted.

      The panel characterized the Commission’s failure to present its
updated environmental justice analysis in conformance with the CEQ’s
regulations – i.e., in a supplemental environmental impact statement,
rather than in the Commission’s orders – as a “fundamental” error that
outweighed the “significant disruption” of vacatur. Op. 34; see also id.
12, 16, 20 (relying on CEQ regulations). The legal directive to conduct
that analysis has now been revoked, Exec. Order 14,173 § 3, 90 Fed.
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Reg. 8633 (Jan. 21, 2025), with the admonition that regulatory
processes “adhere to only the relevant legislated requirements for
environmental considerations.” Exec. Order 14,154 § 6, 90 Fed Reg.
8353 (Jan. 20, 2025). And the legal authority for the purported
procedural requirements of that analysis – CEQ’s regulations – has
likewise been deemed “ultra vires,” Marin Audubon Soc’y v. FAA, 121
F.4th 902, 908 (D.C. Cir. 2024), and the Executive Order giving rise to
those regulations has been revoked. See Exec. Order 14,154 § 5.

     Given these developments, any perceived flaws in the
Commission’s earlier analysis cannot outweigh the devastating
consequences that will result from vacatur of the Commission’s
authorizations. See FERC Resp. 13-14, 21-22 (Doc. #2088704).

     Whatever Petitioners may argue about the obligations imposed by
NEPA itself, they do not – and cannot – dispute that the Commission
has twice examined the impacts to the surrounding communities and
has twice concluded that the only potentially significant impact would
be cumulative visual impacts. See id. 6-11. In such circumstances,
vacatur is not warranted.

     The Commission would welcome the opportunity to present
supplemental briefing, if helpful to the Court, on the recent Executive
Orders.

                                 Respectfully submitted,

                                 /s/ Robert M. Kennedy
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                                 Counsel for Respondent
                                 Federal Energy Regulatory Commission
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                        CERTIFICATE OF SERVICE

      I hereby certify that, on February 6, 2025, a copy of the foregoing was

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operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                                      /s/ Robert M. Kennedy
                                      Robert M. Kennedy
                                      Senior Attorney
